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United States District Court
Eastern District of Birginia
Norfolk, Wirginia 23510
Qhembers of

Rebecca Beach Smith

Senior United States Bistrict Judge

May 30, 2023

David G. Concannon

Explorer Consulting

100 Sun Valley Road, No. 329
Sun Valley, Idaho 83353

Re: R.M.S. Titanic, Inc. v. The Wrecked & Abandoned Vessel
Case No. 2:93cv902

Dear Mr. Concannon:

I regret not having responded sooner, but the Court’s

calendar has been overwhelming so far this year. I do thank you
for your letter of April 20, 2023, advising the Court of
OceanGate Expeditions, Ltd.’s (“OceanGate Expeditions”) “plans

to undertake a series of photographic and scientific survey
expeditions at the wreck site of the R.M.S. Titanic during the
summer of 2023.” Your letter was very comprehensive and
specifically “assur[ed] the Court and the parties that all
activities will be conducted in accordance with the precedent
set by the United States Court of Appeals for the Fourth Circuit
in R.M.S. Titanic, Ine. v. Haver, 171 F.3d 943, 969-71 (4th
Cir.), cert. denied, 528 U.S. 825 (1999).” You also assured the
Court that “OceanGate Expeditions has no intention of disturbing
the R.M.S. Titanic or interfering with R.M.S. Titanic, Inc.’s
(“RMST”) xvights as salvor-in-possession, or of violating this
Court’s orders with respect thereto. On the contrary, OceanGate
Expeditions acknowledges and respects this Court’s exclusive
authority and jurisdiction to manage activities at the Titanic
wreck site. See Haver, 171 F.3d at 967-69.”

Given the background and your update of this matter,
together with the detailed parameters of the 2023 Titanic Survey
Expedition, the Court has no objection to the planned expedition
as set forth in your letter of April 20, 2023. Further, you
have assured that OceanGate Expeditions “does not intend to
infringe on any intellectual property rights of RMST.” As a
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result of your very thorough and explanatory letter of the
upcoming expedition, as well as the assurances detailed above
and in the letter, the Court does not have any questions about

your plans. The Court would appreciate receiving a copy of your
expedition report(s), and I wish you well in your upcoming
endeavors.

Finally, I thank you for the invitation to participate in
the 2023 Titanic Survey Expedition, and perhaps, if another
expedition occurs in the future, I will be able to do so. After
almost thirty (30) years of being involved in this case, that
opportunity would be quite informative and present a first “eyes
on” view of the wreck site by the Court. Your expeditions
create an even greater understanding and appreciation of the
efforts made by so many to preserve the respect for the R.M.S.
Titanic, and for those who lost their lives to this historic
“graveyard of the sea.”

Very truly yours,
Rebecca Beach Smith
RBS/erb

cc: Brian A. Wainger, Esquire
RMST

David G. Barger, Esquire
RMST

Kent P. Porter
Assistant United States Attorney

Jackie Rolleri
NOAA Office of the General Counsel
